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8                                UNITED STATES DISTRICT COURT
9                               EASTERN DISTRICT OF CALIFORNIA
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11    DAVID P. DEMAREST,                             No. 2:16-cv-02271-MCE-KJN
12                      Plaintiff,
13           v.                                      ORDER
14    CITY OF VALLEJO CALIFORNIA,
      et al.,
15
                        Defendants.
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17          By way of this action, Plaintiff David P. Demarest (“Plaintiff”) sought to recover for

18   constitutional violations arising from his arrest at a sobriety checkpoint run by Defendant

19   City of Vallejo (the “City”). The gist of Plaintiff’s remaining claims against the City and

20   co-Defendant Officer Jodi Brown (“Officer Brown”) (collectively “Defendants”) was that

21   requiring Plaintiff to present his driver’s license at the checkpoint constituted an

22   unreasonable search and that Officer Brown used excessive force in effectuating his

23   subsequent arrest. The Court granted summary judgment in Defendants’ favor. ECF

24   No. 73. Presently before the Court is Defendants’ subsequent Bill of Costs (“BOC”).

25   ECF No. 75.

26          Plaintiff objects to the taxing of costs because the BOC is unsupported by

27   documentation and because awarding costs would have a chilling effect on civil rights

28   case. The Court agrees that Defendants’ failure to support their cost request is fatal.
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1            Indeed, Local Rule 292(b) provides:
2                    Within fourteen (14) days after entry of judgment or order
                     under which costs may be claimed, the prevailing party may
3                    serve on all other parties and file a bill of costs conforming to
                     28 U.S.C. § 1924. The cost bill shall itemize the costs claimed
4                    and shall be supported by a memorandum of costs and an
                     affidavit of counsel that the costs claimed are allowable by law,
5                    are correctly stated, and were necessarily incurred. Cost bill
                     forms shall be available from the Clerk upon request or on the
6                    Court's website.
7            Defendants’ filing does not include the requisite supporting evidence itemizing
8    costs such that the Court can determine whether they were in fact appropriate.1 Having
9    failed to adhere to the applicable rules, Defendants’ request is DENIED. No costs will be
10   taxed in this action.
11           IT IS SO ORDERED.
12   Dated: May 29, 2020
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                Defendants did thereafter file a “Response” containing numerous pages of supporting evidence
28   for their claims, but that was too little, too late.
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